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                                   United States District Court
                                      District Of Maryland
     Chambers of                                                                       101 West Lombard Street
Ellen Lipton Hollander                                                                 Baltimore, Maryland 21201
  District Court Judge                                                                       410-962-0742



                                                    November 25, 2024

      LETTER TO COUNSEL

             Re:      Boshea v. Compass Marketing, Inc.
                      Civil No.: ELH-21-0309

      Dear Counsel:

             This letter will confirm that the motions in limine hearing scheduled for February 7,
      2025, has been rescheduled to February 4, 2025, at 10:00 a.m. The hearing will be held in
      Courtroom 5B.

             The pretrial conference will be held in Chambers 5B on February 14, 2025, beginning
      at 2:00 p.m.

             Despite the informal nature of this letter, it is an Order of the Court and shall be docketed
      as such.
                                                                     Sincerely,

                                                                       /s/
                                                                   Ellen Lipton Hollander
                                                                   United States Senior District Judge
